  Case: 1:18-cv-06785 Document #: 275 Filed: 06/19/19 Page 1 of 6 PageID #:2526



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION




IN RE: LOCAL TV ADVERTISING               Case No. 18-06785
ANTITRUST LITIGATION                      MDL No. 2867

                                          Judge:      Hon. Virginia M. Kendall



                        MEMORANDUM IN SUPPORT OF
                   MOTION TO DISMISS GRAY TELEVISION, INC.
      Case: 1:18-cv-06785 Document #: 275 Filed: 06/19/19 Page 2 of 6 PageID #:2526



I.        INTRODUCTION
          Plaintiffs do not directly allege any claims against Gray TV: “Plaintiffs do not allege, at

this time, that [Gray Television, Inc. (“Gray TV”)] participated in the alleged conduct directly;

merely that Gray TV is liable for the acts of Raycom Media, Inc., which it acquired.” (ECF

¶ 20.) This bare allegation that Gray TV is liable is not enough to state a claim. Instead,

Plaintiffs must allege facts demonstrating that it is appropriate to pierce the corporate veil and

hold Gray TV responsible for the acts of its subsidiary, Raycom Media, Inc. (“Raycom”).

          Plaintiffs, however, do not purport to plead—and plead no facts that might—pierce the

corporate veil. There are no facts even suggesting that Raycom is “a sham entity designed to

defraud investors and creditors.” Eagle Air Transp., Inc. v. Nat'l Aerotech Aviation Delaware,

Inc., 75 F. Supp. 3d 883, 896 (N.D. Ill. 2014) (quoting Crosse v. BCBSD, Inc., 836 A.2d 492,

496 (Del.2003)). Because Plaintiffs have not pled these facts, Gray TV is not a proper party to

this lawsuit and the claims against it should be dismissed.

II.       STATEMENT OF FACTS
          Plaintiffs filed their Consolidated Amended Complaint on April 3, 2019, in which they

purport to allege claims “aris[ing] from a price fixing cartel facilitated by an anticompetitive

information exchange between and among certain major television station owners and operators

to artificially inflate the prices of broadcast television spot advertisements in violation of Section

1 of the Sherman Act (15 U.S.C. § 1).” (ECF 223 ¶ 1.) Plaintiffs allege claims against nine

defendants, including Gray TV. (Id. ¶¶ 19-27.)

          All of the defendants—except Gray TV—“entered into consent decrees with the DOJ.”

(Id. ¶ 18.) Because Gray TV did not enter a consent decree with DOJ, “Plaintiffs do not allege,

at this time, that Gray TV participated in the alleged conduct directly; merely that Gray TV is

liable for the acts of Raycom Media, Inc., which it acquired.” (Id. ¶ 20.) Indeed, as Plaintiffs

allege again and again, their only possible theory of liability against Gray TV is as the owner of

Raycom Media, Inc.

         “Gray Television, Inc. (through its acquisition of Raycom Media, Inc.) . . . .” (Id. ¶ 2

                                                   1.
   Case: 1:18-cv-06785 Document #: 275 Filed: 06/19/19 Page 3 of 6 PageID #:2526



           (emphasis added));

          “As mentioned below, while Gray Television, Inc. was not named as a defendant in any

           of the suits brought by the DOJ, in January of 2019, it finalized the acquisition of

           Raycom Media, Inc., and thereby assumed liability for the acts of the acquired entity.”

           (Id. ¶ 5 n.2 (emphasis added));

          “Each of the Defendants named herein entered into consent decrees with the DOJ, except

           Gray Television, Inc., which purchased an entity (Raycom Media, Inc.) that did so.”

           (Id. ¶ 18 (emphasis added));

          “The DOJ also filed the Judgments and the Statement as to all Defendants except for

           Gray TV (after these dates, Gray TV finalized its acquisition of Raycom, which was

           implicated in the DOJ filings), for violating Section 1 . . . .” (Id. at ¶ 60 (emphasis

           added));

          “The Judgments mandate Defendants’ (and Gray TV, by virtue of its acquisition of

           Raycom), conduct for seven years, wherein Defendants must [refrain from certain

           activities and engage in other certain requirements].” (Id. at ¶ 61 (emphasis added)).

Other than basic background, (Id. ¶ 20), and information about the acquisition of Raycom, (Id.

¶ 132), these are the sum total of Plaintiffs’ substantive allegations against Gray TV.

III.       LEGAL STANDARD
           “A motion under Rule 12(b)(6) tests whether the complaint states a claim on which relief

may be granted.” Richards v. Mitcheff, 696 F.3d 635, 637 (7th Cir. 2012). A plaintiff's

“[f]actual allegations must be enough to raise a right to relief above the speculative level.” Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). Put differently, a “complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (quoting Twombly, 550 U.S. at 570).

IV.        ARGUMENT
           Plaintiffs seek to hold Gray TV liable for the alleged conduct of its subsidiary, Raycom.

To do so, however, Plaintiffs must allege (and ultimately prove) facts permitting the Court to

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   Case: 1:18-cv-06785 Document #: 275 Filed: 06/19/19 Page 4 of 6 PageID #:2526



pierce the corporate veil. See Eagle Air Transp., Inc. v. Nat'l Aerotech Aviation Delaware, Inc.,

75 F. Supp. 3d 883, 896-897 (N.D. Ill. 2014). Because Plaintiffs plead no facts which would

justify piercing the corporate veil between Raycom and Gray TV, Plaintiffs’ claims against Gray

TV should be dismissed.         See id. at 896-897 (dismissing claim where alleged facts were

insufficient to pierce the corporate veil); Gumino v. First Data Corp., 2017 WL 1478115 at *4

(N.D. Ill. Apr. 25, 2017) (same).

       As a preliminary matter, veil-piercing is an equitable doctrine governed by the law of the

state in which the entity at issue was incorporated. Laborers' Pension Fund v. Lay-Com, Inc.,

580 F.3d 602, 610 (7th Cir. 2009). Because Raycom is a Delaware corporation, Delaware law

supplies the applicable veil-piercing standard. See id.

       To state a veil-piercing claim under Delaware law, “the plaintiff must plead facts

supporting an inference that the corporation, through its alter-ego, has created a sham entity

designed to defraud investors and creditors.” Eagle Air Transp., Inc. v. Nat'l Aerotech Aviation

Delaware, Inc., 75 F. Supp. 3d 883, 896 (N.D. Ill. 2014) (quoting Crosse v. BCBSD, Inc., 836

A.2d 492, 496 (Del.2003)). Relevant facts include: (1) whether the company was adequately

capitalized and solvent; (2) whether corporate formalities were observed; (3) whether the

controlling shareholder siphoned company funds; and (4) whether the company functioned as a

façade for the controlling shareholder. Eagle Air Transp., 75 F. Supp. 3d at 896. There must also

be “an element of fraud.” Id.

       Here, Plaintiffs plead no facts supporting any of these factors. The complaint contains no

information about Raycom’s capitalization, corporate formalities, or any of its interactions with

Gray TV, much less facts suggesting anything fraudulent. Plaintiffs plead only that Gray TV

acquired Raycom. See Section II, supra. Because these allegations are insufficient as a matter

of law, Plaintiffs’ claims against Gray TV should be dismissed. See Eagle Air Transp., 75 F.

Supp. 3d at 896-897 (dismissing claim where alleged facts were insufficient to pierce the

corporate veil).

       Moreover, Plaintiffs will be unable to plead any facts to pierce the corporate veil, even

                                                 3.
     Case: 1:18-cv-06785 Document #: 275 Filed: 06/19/19 Page 5 of 6 PageID #:2526



with amendment. Gray TV acquired Raycom when Gray’s wholly-owned subsidiary, East

Future Group, Inc., merged with Raycom, with Raycom surviving the merger and becoming a

wholly owned subsidiary of Gray. See Gray Television, Inc., Current Report (Form 8-K) at 2

(Jan. 3, 2019)1. As a result of this so-called “reverse triangle merger,” Raycom assumed East

Future Group, Inc.’s “debts, liabilities and duties,” while continuing to be liable for its own

liabilities. See Del. Code Ann. tit. 8, § 259(a); Lewis v. Ward, No. CIV.A. 15255, 2003 WL

22461894, at *4 n.18 (Del. Ch. Oct. 29, 2003), aff'd, 852 A.2d 896 (Del. 2004) (“If a reverse

triangular structure is used, the rights and obligations of the target are not transferred, assumed or

affected.”).   This commonplace corporate transaction, which was completed through a

transparent process and approved by the FCC2, provides no basis to pierce the corporate veil and

hold Gray TV liable for Raycom’s alleged conduct.

V.      CONCLUSION
        For the foregoing reasons, Defendant Gray Television, Inc. respectfully requests that the

Court grant this motion and dismiss all claims against Gray Television, Inc.




1
  Available at
https://www.sec.gov/Archives/edgar/data/43196/000119312519001313/d681991d8k.htm. The
Court can take judicial notice of Gray TV’s SEC filings. See Takara Trust v. Molex Inc., 429 F.
Supp. 2d 960, 963 (N.D. Ill. 2006).
2
  See Federal Communications Commission, Memorandum Opinion and Order (Dec. 20, 2018),
available at https://docs.fcc.gov/public/attachments/DA-18-1286A1_Rcd.pdf.

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  Case: 1:18-cv-06785 Document #: 275 Filed: 06/19/19 Page 6 of 6 PageID #:2526



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